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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Action No.: 19-cr-00086-REB

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. BRAINARD CLARK;
2. DAMIEN LEWIS; and,
3. DAVID WINSTON.

       Defendants.


  GOVERNMENT’S RESPONSE TO DEFENDANT’S UNOPPOSED MOTION FOR
ORDER ALLOWING MR. CLARK TO RETURN TO THE COLORADO DEPARTMENT
 OF CORRECTIONS PENDING RESOLUTION OF 19-cr-00086-REB [ECF No. 104]
______________________________________________________________________

       The United States of America responds to the defendant’s motion [ECF No. 104].

       Pursuant to the Court’s oral Order at the February 18, 2020 Motions Hearing, the

Government conferred with the United States Marshals regarding the defendant’s

request to return to state custody pending the resolution of this case. The undersigned

personally spoke with Supervisory Deputy United States Marshal. The Marshals object

to the defendant’s request. Transporting the defendant to and from Crowley County

Correctional Facility, which is southeast of Pueblo, Colorado, just north of La Junta,

Colorado, imposes a logistical and economic burden on the Marshals that is not

normally incurred in a case where a federal defendant is detained pending trial.

       The undersigned conferred with defense counsel prior to him filing the motion

and did not object to the request. The undersigned did not confer with the Marshals

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prior to stating that he did not object to the request. After conferring with the Marshals,

per Court order, the Government now objects to the defendant’s request.

       Given the Marshals’ objection to the defendant’s request, the Government

respectfully requests that the Court deny the defendant’s motion.

       Dated: February 24, 2020.

                                                 Respectfully submitted,

                                                 JASON R. DUNN
                                                 United States Attorney

                                          By:    /s/ Jason St. Julien
                                                 JASON ST. JULIEN
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                                                 Attorney for the United States




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 24th day of February 2020, I electronically filed
the foregoing GOVERNMENT’S RESPONSE TO DEFENDANT’S UNOPPOSED
MOTION FOR ORDER ALLOWING MR. CLARK TO RETURN TO THE COLORADO
DEPARTMENT OF CORRECTIONS PENDING RESOLUTION OF 19-cr-00086-REB
[ECF No. 104] with the Clerk of the Court using CM/ECF, which will send notification of
such filing to the following individuals:

      Peter K. Hedeen
      Email: hedeenlaw@gmail.com


                                               /s/ Jason St. Julien
                                               JASON ST. JULIEN
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